                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
                            Plaintiff,    )
                                          )
vs.                                       )       No. 21-03067-01-CR-S-BCW
                                          )
DAVID PANBEHCHI,                          )
                                          )
                            Defendant.    )


       UNCONTESTED MOTION FOR CONTINUANCE OF TRIAL SETTING

       Comes now Defendant, David Panbehchi, through counsel and hereby moves that

this case be continued from its current trial setting on the August 16, 2021, Joint Criminal

Docket, and reset to the May 2, 2022, Joint Criminal Docket. In support of this motion

for continuance, the Defendant states as follows:

       1.     A two count Indictment was filed against Mr. Panbehchi on May 19, 2021.

The Office of the Federal Public Defender was appointed to represent Mr. Panbehchi on

June 17, 2021.

       2.     Additional time is needed to conduct critical evaluations of the discovery,

relevant guidelines, potential motions to suppress, and to otherwise make a global

evaluation of the case and options to resolve this matter.

       3.     This continuance is not sought for the purpose of undue delay, but is sought

in truth and fact that the Defendant may be afforded due process of law under the Fifth

Amendment to the United States Constitution and afforded effective assistance of counsel



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under the Sixth Amendment to the United States Constitution. In accordance with 18

U.S.C. §§ 3161(h)(7)(A) and (B)(I) and (IV), it is submitted that the above-stated reasons

for a continuance outweigh the best interests of the public and the Defendant to a speedy

trial which is required by 18 U.S.C. § 3161(c)(1). In short, the procedural components

that currently exist in this case necessitate a continuance to avoid a miscarriage of justice

and/or to ensure that Mr. Panbehchi has clear, meaningful, and effective access to counsel

while preparing to resolve this case.

       4.       Under the provisions of 18 U.S.C. § 3161(h)(7)(A), the period of time until

the next criminal trial docket should be excluded in computing the period of time in which

the Defendant should be brought to trial under the provisions of the Speedy Trial Act.

       5.       Finally, counsel for the government, Randy Eggert, does not oppose this

motion.

       WHEREFORE, Defendant, David Panbehchi, hereby moves that this case be

continued from its current trial setting on the August 16, 2021, Joint Criminal Docket, and

be reset on the May 2, 2022, Joint Criminal Docket.


                                           Respectfully submitted,

                                           /s/ Ian A. Lewis
                                           IAN A. LEWIS, #52819
                                           Assistant Federal Public Defender
                                           901 St. Louis Street, Suite 801
                                           Springfield, Missouri 65806
                                           (417) 873-9022
                                           Attorney for Defendant

July 13, 2021




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                             CERTIFICATE OF SERVICE


       I hereby certify that on this 13th day of July, 2021, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system, which sent e-

mail notification of such filing to all CM/ECF participants in this case.

                                          /s/ Ian A. Lewis
                                          IAN A. LEWIS




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